Case 8:11-cv-01309-DOC-AN Document 96 Filed 11/19/12 Page 1 of 34 Page ID #:4096




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    8   KEATING DENTAL ARTS, INC.
    9
                       IN THE UNITED STATES DISTRICT COURT
   10
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
   11
                                   SOUTHERN DIVISION
   12
   13   JAMES R. GLIDEWELL DENTAL                    ) Civil Action No.
        CERAMICS, INC. dba GLIDEWELL                 ) SACV11-01309-DOC(ANx)
   14   LABORATORIES,                                )
                                                     ) DECLARATION OF CAROL
   15               Plaintiff,                       ) FRATTURA IN SUPPORT OF
                                                     ) KEATING DENTAL ARTS,
   16         v.                                     ) INC.’S MOTIONS FOR
                                                     ) SUMMARY JUDGMENT
   17   KEATING DENTAL ARTS, INC.                    )
                                                     ) Honorable David O. Carter
   18               Defendant.                       )
                                                     )
   19                                                )
        AND RELATED COUNTERCLAIMS.                   )
   20                                                )
                                                     )
   21                                                )
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Case 8:11-cv-01309-DOC-AN Document 96 Filed 11/19/12 Page 2 of 34 Page ID #:4097




    1         I, Carol Frattura, hereby declare as follows:
    2         I am the Vice President of Showcase Dental Laboratories, Inc.
    3   (“Showcase”), located in Port Charlotte, Florida. I have personal knowledge of
    4   the matters set forth herein. If called upon to testify, I could and would testify
    5   as follow:
    6         1.     My husband and I founded Showcase in 2004. Showcase Dental
    7   Laboratory is a dental laboratory that provides various products to dentists for
    8   use with their patients. The different categories of products we sell include
    9   dental restorations such as crowns, bridges, dentures, partials, and implant
   10   restorations. There are many different products available within each of these
   11   categories. Our customers are dentists who order products from us for use with
   12   their patients. My husband is the President of Showcase and I am the Vice
   13   President.
   14         2.     As Vice President, my responsibilities at Showcase include, among
   15   other things, managing the customer service department, accounting, and
   16   managing the incoming laboratory cases.
   17         3.     To order a dental restoration from Showcase Dental Laboratory, a
   18   dentist specifies the specific dental restoration that they would like
   19   manufactured for them by filling out a prescription form. The prescription form
   20   allows the dentist to specify a particular patient, a particular tooth (or teeth), a
   21   particular dental restoration, and ancillary information such as shading of the
   22   dental restoration. The dentist sends the prescription form to our lab along with
   23   the impression or model accompanying the case. We then fabricate a custom
   24   made product for that patient in accordance with the prescription order.
   25         4.     Fabricating crowns and bridges according to dentists specifications
   26   make up approximately two-thirds of our business at Showcase.
   27         5.     Showcase currently sells a full contour zirconia crown under the
   28   name FCZ which stands for “Full Contour Zirconia.” During the months of

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Case 8:11-cv-01309-DOC-AN Document 96 Filed 11/19/12 Page 3 of 34 Page ID #:4098




    1   September and October 2012, Showcase filled 348 orders for our FCZ crown.
    2         6.     Attached hereto as Exhibit A are true and correct copies of
    3   prescription order forms that Showcase Dental Laboratory has received from
    4   dentists ordering dental restorations. In the attached exhibits, the patients’ last
    5   names have been redacted to protect their identities.          Also, the original
    6   prescription order forms did not include the labels KDA-004853 through
    7   KDA004870, which were added to the documents attached as Exhibit A in
    8   connection with this litigation.
    9         7.     The prescription order forms attached as Exhibit A are examples of
   10   prescription orders received by Showcase Dental Laboratory in which the
   11   dentists ordered an all-zirconia crown by referencing a “bruxzir,” “bruxer,”
   12   “bruxir,” crown, or other similar spelling.
   13         8.     I have spoken with many dentists over the years who refer to all-
   14   zirconia crowns as “bruxer crowns.”           Since “bruxer” and “bruxzir” are
   15   pronounced the same, the dentists could also be speaking of a “bruxzir crown”
   16   during these conversations.        From my experience in the dental field and
   17   speaking with numerous dentists, I understand a bruxer crown to be a crown for
   18   bruxers.
   19         9.     I have seen dentists use the terms “bruxzir,” “bruxer,” “bruxir,” and
   20   other similar spellings to indicate an all-zirconia crown on many prescription
   21   order forms received at Showcase. Any orders received by Showcase Dental
   22   Laboratory using these terms are fulfilled by Showcase by providing a full
   23   contour zirconia crown made by Showcase.
   24         10.    As a dental laboratory that provides products for dentists,
   25   Showcase Dental Laboratory is a direct competitor of Keating Dental Arts and
   26   Glidewell Laboratories.
   27         11.    The all-zirconia crowns sold by Showcase Dental Laboratory are
   28   not made with material originating with Glidewell Laboratories.         Moreover,


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Case 8:11-cv-01309-DOC-AN Document 96 Filed 11/19/12 Page 4 of 34 Page ID #:4099




    1   there is no affiliation whatsoever between Showcase Dental Laboratory and
    2   Glidewell Laboratories.
    3          12.    Between the end of 2010 and Jan 2012, Showcase Dental
    4   Laboratory offered for sale a full contour zirconia crown using the product name
    5   “Zir-Bruxer.” Showcase used this name because it readily described the product
    6   for which it was named. The “Zir” prefix identified that the crown was made of
    7   zirconia. The “Bruxer” suffix identified that the crown was an all-zirconia
    8   crown without any porcelain overlay so that it would be strong enough to be
    9   used as a bruxer crown, or a crown for bruxer patients who often chip the
   10   porcelain on other crowns.
   11          13.    Attached as Exhibit B is a true and correct copy of correspondence
   12   that I exchanged with Keith Allred of Glidewell Laboratories regarding
   13   Showcase Dental Laboratory’s use of the name “Zir-Bruxer.” The original
   14   correspondence did not include the labels GL 241 (pages 71 of 99 through 79 of
   15   99), which were added to the documents attached as Exhibit B in connection
   16   with this litigation.
   17          14.    In the documents attached as Exhibit B, Mr. Allred claimed that
   18   Showcase Dental Laboratory’s use of the term “Zir-Bruxer” was an
   19   infringement of Glidewell’s registered trademark “BruxZir.”
   20          15.    I disagreed with Mr. Allred’s assertions that our use of Zir-Bruxer
   21   was an infringement of Glidewell’s registered mark “BruxZir.” As I stated in
   22   my replies to Glidewell, “Zir-Bruxer” was “short for a zirconia bruxer crown”
   23   and as such was a “generic description” of the product. (Ex. B, GL 241 p. 75 of
   24   99, 76 of 99). In his response, Mr. Allred asserted that the names were
   25   confusingly similar, at least in part because BRUXER sounds like BRUXZIR.
   26          16.    With the threat of a federal lawsuit, I felt it was more important to
   27   focus my time and energy on providing my customers with high quality goods
   28   and services than to expend resources defending my use of a generic term in


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Case 8:11-cv-01309-DOC-AN Document 96 Filed 11/19/12 Page 5 of 34 Page ID #:4100
Case 8:11-cv-01309-DOC-AN Document 96 Filed 11/19/12 Page 6 of 34 Page ID #:4101




                    EXHIBIT A
Case 8:11-cv-01309-DOC-AN Document 96 Filed 11/19/12 Page 7 of 34 Page ID #:4102




                                                                             Exhibit A
                                                                          KDA-004853
Case 8:11-cv-01309-DOC-AN Document 96 Filed 11/19/12 Page 8 of 34 Page ID #:4103




                                                                             Exhibit A
                                                                          KDA-004854
Case 8:11-cv-01309-DOC-AN Document 96 Filed 11/19/12 Page 9 of 34 Page ID #:4104




                                                                             Exhibit A
                                                                          KDA-004855
Case 8:11-cv-01309-DOC-AN Document 96 Filed 11/19/12 Page 10 of 34 Page ID #:4105




                                                                             Exhibit A
                                                                           KDA-004856
Case 8:11-cv-01309-DOC-AN Document 96 Filed 11/19/12 Page 11 of 34 Page ID #:4106




                                                                             Exhibit A
                                                                           KDA-004857
Case 8:11-cv-01309-DOC-AN Document 96 Filed 11/19/12 Page 12 of 34 Page ID #:4107




                                                                             Exhibit A
                                                                           KDA-004858
Case 8:11-cv-01309-DOC-AN Document 96 Filed 11/19/12 Page 13 of 34 Page ID #:4108




                                                                             Exhibit A
                                                                           KDA-004859
Case 8:11-cv-01309-DOC-AN Document 96 Filed 11/19/12 Page 14 of 34 Page ID #:4109




                                                                             Exhibit A
                                                                           KDA-004860
Case 8:11-cv-01309-DOC-AN Document 96 Filed 11/19/12 Page 15 of 34 Page ID #:4110




                                                                             Exhibit A
                                                                           KDA-004861
Case 8:11-cv-01309-DOC-AN Document 96 Filed 11/19/12 Page 16 of 34 Page ID #:4111




                                                                             Exhibit A
                                                                           KDA-004862
Case 8:11-cv-01309-DOC-AN Document 96 Filed 11/19/12 Page 17 of 34 Page ID #:4112




                                                                             Exhibit A
                                                                           KDA-004863
Case 8:11-cv-01309-DOC-AN Document 96 Filed 11/19/12 Page 18 of 34 Page ID #:4113




                                                                             Exhibit A
                                                                           KDA-004864
Case 8:11-cv-01309-DOC-AN Document 96 Filed 11/19/12 Page 19 of 34 Page ID #:4114




                                                                             Exhibit A
                                                                           KDA-004865
Case 8:11-cv-01309-DOC-AN Document 96 Filed 11/19/12 Page 20 of 34 Page ID #:4115




                                                                             Exhibit A
                                                                           KDA-004866
Case 8:11-cv-01309-DOC-AN Document 96 Filed 11/19/12 Page 21 of 34 Page ID #:4116




                                                                             Exhibit A
                                                                           KDA-004867
Case 8:11-cv-01309-DOC-AN Document 96 Filed 11/19/12 Page 22 of 34 Page ID #:4117




                                                                             Exhibit A
                                                                           KDA-004868
Case 8:11-cv-01309-DOC-AN Document 96 Filed 11/19/12 Page 23 of 34 Page ID #:4118




                                                                             Exhibit A
                                                                           KDA-004869
Case 8:11-cv-01309-DOC-AN Document 96 Filed 11/19/12 Page 24 of 34 Page ID #:4119




                                                                             Exhibit A
                                                                           KDA-004870
Case 8:11-cv-01309-DOC-AN Document 96 Filed 11/19/12 Page 25 of 34 Page ID #:4120




                     EXHIBIT B
Case 8:11-cv-01309-DOC-AN Document 96 Filed 11/19/12 Page 26 of 34 Page ID #:4121




                                                                             Exhibit B
Case 8:11-cv-01309-DOC-AN Document 96 Filed 11/19/12 Page 27 of 34 Page ID #:4122




                                                                             Exhibit B
Case 8:11-cv-01309-DOC-AN Document 96 Filed 11/19/12 Page 28 of 34 Page ID #:4123




                                                                             Exhibit B
Case 8:11-cv-01309-DOC-AN Document 96 Filed 11/19/12 Page 29 of 34 Page ID #:4124




                                                                             Exhibit B
Case 8:11-cv-01309-DOC-AN Document 96 Filed 11/19/12 Page 30 of 34 Page ID #:4125




                                                                             Exhibit B
Case 8:11-cv-01309-DOC-AN Document 96 Filed 11/19/12 Page 31 of 34 Page ID #:4126




                                                                             Exhibit B
Case 8:11-cv-01309-DOC-AN Document 96 Filed 11/19/12 Page 32 of 34 Page ID #:4127




                                                                             Exhibit B
Case 8:11-cv-01309-DOC-AN Document 96 Filed 11/19/12 Page 33 of 34 Page ID #:4128




                                                                             Exhibit B
Case 8:11-cv-01309-DOC-AN Document 96 Filed 11/19/12 Page 34 of 34 Page ID #:4129




                                                                             Exhibit B
